                     UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

JOHN J. TREGONING and                                  :
KATHLEEN WELDON TREGONING                              :
                                                       :
                      Plaintiffs,                      :    Case No.:1:14-cv-01560-CMH-JFA
                                                       :
       v.                                              :
                                                       :
ROWAN’S LANDSCAPE COMPANY, INC.                        :
                                                       :
                      Defendant.                       :
                                                       :

                              AMENDMENT TO COMPLAINT

       Plaintiffs amend their complaint as of course, pursuant to the provisions of Rule 15 (a) of

the Federal Rules of Civil Procedure as follows:


                                 AMENDED COMPLAINT
                                     Breach of Contract
                                Breach of Expressed Warranty
                                 Breach of Implied Warranty
                      Breach of Covenant of Good Faith and Fair Dealing


       COMES NOW Plaintiffs, John J. Tregoning and Kathleen Weldon Tregoning

(hereinafter referred to as “Plaintiffs”) and hereby moves this Honorable Court for judgment

against Defendant, Rowan Landscape & Pool, Inc. (hereinafter referred to as “Defendant”), as

prayed for below.

       1.     On or about October 22, 2013, Defendant entered two contracts with Plaintiffs for

design, consulting and construction services regarding construction of a pool and landscaping at

their residence, providing material and labor for these improvements to the grounds of their

residence (hereinafter referred to as “Contracts”). The Contracts are marked as Plaintiffs’

Exhibits A & B, attached to this complaint and incorporated by reference.

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        2.      Said Contracts had the mutual assent of the Defendant and Plaintiffs.

        3.      The consideration set forth in the Contracts was fair and reasonable. In fact

Plaintiffs paid Defendant $256,368 which was $11,038 more than the total contract price and

more than contractual obligated to pay for its satisfactory completion.

                                         COUNT I
                                    BREACH OF CONTRACT

        Plaintiffs repeat and re-allege each allegation in paragraphs 1 through 3 of the Amended

Complaint as it is fully set forth at length herein.

        4.      Defendant drew up the specifications for the project intended to fulfill a specific

purpose and had a contractual duty to provide Plaintiff with appropriate design and materials and

construction work done in a good and workmanlike manner according to standard practices.

Defendant warranted that the design and materials were suitable, free of defect, and the

construction work done in a workmanlike manner according to standard practices and skill in the

trade which did not deviate from norms established in the trade at the time and place the contract

was formed. Defendant was under a contractual duty to perform the work and provide materials

consistent with accepted standards and expressly and impliedly warranted the same.

        5.      Due to defective and/or faulty materials and defective or faulty workmanship

and/or work substantially not in conformity with plans and specifications, Defendant breached its

contractual duty to provide Plaintiff with work in a good and workmanlike manner according to

standard practices. Defendant breached their expressed and/or implied guarantee that the

landscaping and pool was suitable and that the work would be done in a workmanlike manner.

Defendant breached its obligation in the contract to provide construction services free from

defects in material and performed workmanlike manner according to standard practices.

Defendant failed to render the services and supply the appropriate materials necessary to

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complete the Contracts in accordance with the terms and conditions of the contracts

specifications drawn up by Defendant and failed to adhere to accepted standards.

       The Defendants’ failures include, but not limited to, the following:

       a)          improper installation of drainage on the patio, resulting in flooding to patio and

                   home;

       b)          installation of stone steps and wall caps using materials that immediately became

                   discolored and required replacement;

       c)          use of improper plants for the amount of sun/shade in the area and use of low-

                   quality plants that were not viable;

       d)          improper installation of stainless steel doors on an outdoor grill;

       e)          failure to install water return fittings for pool;

       f)          improper placement of water return line for pool;

       g)          installation of flagstones around the pool of irregular color and size; and

       h)          damage to property left unrepaired, including but not limited to the following:

            i)             exposure of cinder block foundation of house during excavation for upper

                           patio;

            ii)            damage to carpet and trim caused by flooding of basement due to

                           improper drainage installation;

            iii)           creation of two holes in basement ceiling for the installation of pool cover

                           control box;

            iv)            creation of a large hole in basement wall from installation of electrical

                           switching panel;

            v)             flooding of pool with dirt and mulch due to improper drainage installation,



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                          requiring removal and replacement of damaged pool filters;

            vi)           damage to plants and property resulting from the clay and dirt from pool

                          excavation being left in a pile onsite untouched for six months, damaging

                          root beds of plants and trees;

            vii)          removal of dirt and clay from pool installation after it was improperly

                          spread around property instead of being removed; and

            viii)         damage to access road used by Defendant to access property and failure to

                          properly restore access road to its original condition.

       6.          Defendant breached its obligation under the contracts to perform no other work

than specified in the contract without prior written authorization of the plaintiffs on a written

change orders. Defendant breached the Contracts when it levied charges for work not

contemplated by the Contracts without sufficient documentation as to the basis for the amount of

the addition. Contracts also included numerous “estimated” charges that were not reconciled at

the end of the project except in those cases in which, according to the Defendant, the final

amount exceeded the estimates, without justification or documentation.

       7.          Plaintiffs fully performed all terms conditions covenants and promises required of

them pursuant to the terms of the contracts until defendant breached the terms of their contract

by failing to meet its requirements under the contract to provide the workmanlike services using

accepted standards and failing to perform work, and failing to repair and replace defective work

and materials.

       8.          Defendant had actual and/or constructive notice of said defects and was provided

notice by the plaintiffs of the defects. Plaintiffs made requests to repair or replace the defective




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construction and materials. Plaintiffs provided notice to Defendant of its breaches of its

warranties by communicating that the work was defective and seeking to resolve this matter.

       9.        Defendant failed to attempt in good faith to effectuate a prompt, fair and equitable

correction of the defects claimed, made no attempt to schedule time to perform repairs or cure

defects and refused and/or failed to remedy.

       10.       The contract has no provision excluding consequential damages or remedy in

breach of contract where a term of the contract fails its essential purpose. No such language

exists in these contracts. Defendant provided substandard construction services, using defective

material and/or ignoring Plaintiffs requests to repair and replacement thereby depriving Plaintiffs

an adequate remedy. Damage limitations and repair and replacement warranties in the pool

contract and landscaping contract failed their essential purposes. Plaintiffs are entitled to a fair

quantum of remedy for breach of obligations or duties outlined in the contracts. Limiting the

remedial provisions whereby the plaintiff would receive no remedy unless defendant is paid in

full for substandard/defective work or uncorrected defects is unconscionable and should be

excluded in these circumstances.

       11.       On August 12, 2014, Plaintiffs communicated to Defendant that they were

withholding payment of $27,962 as they had at that point paid for services that had not been

rendered or not or rendered in a workmanlike manner and according to standard practices under

those circumstances and not remedied by repair or replacement. Plaintiffs demanded Defendant

compensate them for damages not covered by the payments withheld which Defendant has

refused to do.

       12.       By reason of Defendant’s breaches, Plaintiffs have had to incur damages for

further costs contracting with other parties to complete the work in a good a workmanlike



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manner and according to standard practices. Plaintiffs’ suffered damages in the amount of

$89,760.00 and has been forced to secure the services of an attorney and incur attorney fees and

court costs to prosecute this lawsuit in order to recover the $61,798 in damages not covered by

payments withheld.

                                       COUNT II
                             BREACH OF EXPRESS WARRANTY

        Plaintiffs repeat and re-allege each allegation in paragraphs 1 through 12 of the Amended

Complaint as it is fully set forth at length herein.

        13.     Plaintiffs gave defendants actual notice of defects in material and construction

and requested they be cured. Defendant, on its own had actual and/or constructive notice of said

defects. Defendant breached its express warranty to provide defect free materials and

workmanlike construction and adherence to accepted standards and breached its express

warranty to cure any defects by failing or refusing to repair and replace or correct those defects

in material or substandard work it expressly guaranteed to repair and replace.

                                      COUNT III
                             BREACH OF IMPLIED WARRANTY

        Plaintiffs repeat and re-allege each allegation in paragraphs 1 through 13 of the Amended

Complaint as it is fully set forth at length herein.

        14.     Plaintiffs gave defendants actual notice of defects in material and construction

and requested they be cured. Defendant, on its own had actual and/or constructive notice of said

defects. Defendant breached its implied warranty to provide defect free materials and

workmanlike construction and adherence to accepted standards and Defendant breached its

implied warranty to cure any defects by failing or refusing to repair and replace or correct those

defects in material or substandard work it impliedly guaranteed to repair and replace.



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                                  COUNT IV
              BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING

        Plaintiffs repeat and re-allege each allegation in paragraphs 1 through 14 of the Amended

Complaint as it is fully set forth at length herein.

        15.     Virginia law implies a covenant of good faith and fair dealing in all contracts

between parties entered into the state of Virginia. This contract was entered in Virginia.

        16.     Defendant breached the covenant of good faith and fair dealing by failing or

refusing to provide services and materials commensurate with the terms of the contract.

Defendant failed to perform construction in a workmanlike manner and with materials free of

defects and using accepted standards. Defendant then failed and/or refused to repair and replace

when Defendant had actual and constructive notice of said defects and/or when provided notice

by the plaintiffs of the same.

        17.     As a result of the above described actions of the defendant, defendant has violated

the implied covenant of good faith and fair dealing contained in the contract that is the subject of

this action.

                                   COUNT V
                      MISREPRESENTATION OF MATERIAL FACTS

        Plaintiffs repeat and re-allege each allegation in paragraphs 1 through 17 of the Amended

Complaint as it is fully set forth at length herein.

        18.     Defendant misrepresented material facts. Defendant assured Plaintiffs that its

work would meet accepted standards, be performed in a workmanlike manner, using materials

free of defect and any defect in the work or material would be promptly corrected. Defendant

misrepresented the remedy when substandard construction occurred and/or defective materials

were utilized, assuring Plaintiffs it would repair and replace any defective work or material


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which in fact it has failed to do. This was a material fact constituted an inducement to the

contract.

                             COUNT VI
       UNJST ENRICHMENT, QUANTUM MERUIT , AND QUASI-CONTRACT

       Plaintiffs repeat and re-allege each allegation and each count in paragraphs 1 through 18

of the Amended Complaint.

       19.     Defendant’s failing to cure the defects with either repair or replacement left

Plaintiffs without an adequate remedy or a fair quantum of remedy. Free of defect services and

materials they were not provided which defeated the purpose of their bargain and deprived

Plaintiffs the substantial value of their bargain and unjustly enriched the Defendant when it was

paid for services "free of defects in material and workmanship" that were not provided.


                                   PRAYER FOR RELIEF

       Plaintiffs repeat and re-allege each allegation in paragraphs 1 through 19, Counts I

through V of the Amended Complaint and pray for judgment against Defendant on each counts

in the amount of $61,798.00 plus interest and costs, and such other further relief that the court

may deem just and proper.

                                            Respectfully submitted,
                                            JOHN J. TREGONING and
                                            KATHLEEN WELDON TREGONING
                                            By Counsel

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Counsel for Plaintiffs

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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Amended Complaint was electronically filed
with the Clerk of the Court of the United States District Court for the Eastern District of Virginia
on this 12th day of December, 2014, and served on Defendant’s counsel mentioned below
through the Court’s CM/ECF system.


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                                              /s/Leonard P. Buscemi




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